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                                    7206




                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                          CENTRAL DIVISION AT LEXINGTON


  IN RE CLASSICSTAR MARE LEASE                    )     MDL No. 1877
  LITIGATION                                      )
                                                  )
                                                  )      Master File:
  AND                                             )     Civil Action No.: 5:07-cv-353-JMH
                                                  )
  WEST HILLS FARMS, LLC, ET AL.                   )
                                                  )
                             PLAINTIFFS           )
  V.                                              )     CASE NO.: 06-243-JMH
                                                  )
  CLASSICSTAR, LLC, ET AL.                        )
                                                  )
                             DEFENDANTS           )



                                           ORDER

        This matter having come before the Court on the Motion by Plaintiffs West Hills Farms,

  LLC, Arbor Farms, LLC, Nelson Breeders, LLC, MacDonald Stables, LLC, and Monica and

  Jaswinder Grover to file a memorandum in excess of forty pages in opposition to Gastar

  Exploration Ltd.’s Motion for Summary Judgment on Certain Track I Plaintiffs’ Claims Under

  Federal RICO Law, and the Court being in all ways sufficiently advised, IT IS HEREBY

  ORDERED that the Motion is GRANTED.


  DATED: _______________________

                                                   ____________________________________
                                                   Judge, United States District Court
Case: 5:06-cv-00243-JMH-REW Doc #: 508-1 Filed: 07/26/10 Page: 2 of 2 - Page ID#:
                                    7207




  TENDERED BY:

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